Case 1:19-cv-00256-CMH-JFA Document 10 Filed 07/16/19 Page 1 of 2 PageID# 48




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

CAROL REEVES, Individually, as        )       CASE NO.: 1:19-cv-00256-CMH-JFA
Surviving spouse, and as Personal     )
Representative of the Estate of       )
RICHARD WAYNE REEVES,                 )
                                      )
                       Plaintiff,     )
       vs.                            )
                                      )
UNION CARBIDE                         )
CORPORATION, et al.,                  )
                                      )
                       Defendants.    )
                                      )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW, Plaintiff, Carol Reeves, Individually, as Surviving Spouse, and as Personal

Representative of the Estate of Richard Wayne Reeves (hereinafter “Plaintiffs”) and the

Defendant, UNION CARBIDE CORPORATION (hereinafter “Settled Defendant”), by and

through their respective counsel, and represent to the Court that all matters in controversy between

Plaintiffs and the Settled Defendant have been resolved and compromised, and they accordingly

stipulate that this action be dismissed pursuant to Federal Rule of Civil Procedure 41, as against

the Settled Defendant. Each party shall bear its own costs and attorneys’ fees in this matter.



                                      Respectfully submitted,

                                      This 16th day of July, 2019.
Case 1:19-cv-00256-CMH-JFA Document 10 Filed 07/16/19 Page 2 of 2 PageID# 49




WE ASK FOR THIS:


_By: /s/ Nathan D. Finch________
Nathan D. Finch (VSB No. 34290)
MOTLEY RICE, LLC
401 9th Street, NW, Suite 1001
Washington DC 20004
(202) 232-5507
nfinch@motleyrice.com
Co-Counsel for the plaintiff"

John E. ("Rhett') Guerry, III
MOTLEY RICE, LLC
28 Bridgeside Boulevard
Mt. Pleasant, SC 29465
(843) 216-9488
rguerry@motleyrice.com
Co-counsel for the plaintiff' (pending pro bac admission)

Jimmy F. Rodgers, Jr. (TN BPR #16876)
SUMMERS, RUFOLO & RODGERS, P.C.
735 Broad Street, Suite 800
Chattanooga, TN 37402-2913
(423) 265-2385
jrodgers@summersfirm.com
Co-counsel for the plaintiff (pending pro bac admission)


BY: /s/ Benjamin Catlett Smoot
Benjamin Catlett Smoot, Esq. VA Bar #89587
James G. Kennedy, Esq.
PIERCE, SLOAN, WILSON, KENNEDY & EARLY, LLC
The Blake-Grimké House
321 East Bay Street
P.O. Box 22437 (29413)
Charleston, South Carolina (29401)
PH: (843) 722-7733
FAX: (843) 722-7732
bensmoot@piercesloan.com
Counsel for Defendant Union Carbide Corporation
